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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ROBERT HORVATH, LORI PARK-                         )
GIANFRANCISCO, THERESA L. PORTELL,                 )
FRANK G. PANTALEO, PATRICIA                        )
PANTALEO, RICHARD RUTKOWSKI,                       )
PHYLLIS RUTKOWSKI, SHARON                          )
GIAMMANCO, SALVATORE                               )
GIAMMANCO, and on behalf of the                    )
class members described below,                     )
                                                   )
               Plaintiffs,                         )      Case No. 18-cv-5414
                                                   )
               v.                                  )      District Judge John J. Tharp, Jr.
                                                   )
NADIM KHALIL ZAYED a/k/a                           )      Magistrate Judge Jeffery T. Gilbert
DEAN ZAYED, BROOKSTONE                             )
CAPITAL MANAGEMENT, LLC, and                       )
KAIZEN ADVISORY, LLC,                              )
                                                   )
               Defendants.                         )

     DEFENDANTS’ JOINT MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
   PURSUANT TO THE SECURITIES LITIGATION UNIFORM STANDARDS ACT

        Defendants Nadim Khalil “Dean” Zayed, Brookstone Capital Management, LLC and

Kaizen Advisory, LLC (collectively, “Defendants”), by their attorneys, respectfully move the

Court to dismiss the Complaint of Plaintiffs Robert Horvath, Lori Park-Gianfranciso, Theresa

L. Portell, Frank G. Pantaleo, Patricia Pantaleo, Richard Rutkowski, Phyllis Rutkowski, Sharon

Giammanco and Salvatore Giammanco (collectively, “Plaintiffs”) on the ground that it is

precluded by the Securities Litigation Uniform Standards Act of 1998 (“SLUSA”), 15 U.S.C.

§§ 77p and 78bb, and therefore must be dismissed pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure for failure to state a claim upon which relief can be granted. In support of

their Joint Motion, Defendants state as follows:

       1.      On July 10, 2018, Plaintiffs filed a putative class action complaint (the
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“Complaint”) in the Circuit Court for the Eighteenth Judicial Circuit, DuPage County, Illinois,

Case No. 2018 L 000784. On August 9, 2018, Defendants timely removed that action to this

Court pursuant to SLUSA.

       2.      The Complaint in this action alleges that Plaintiffs and the putative class owned

shares in the Kaizen Hedged Premium Spreads Fund (the “Fund”) which was a mutual fund

series issued by Investment Managers Series Trust II, a Delaware statutory trust and open-ended

investment company registered under the Investment Company Act of 1940 (the “ICA”).

(Compl., attached as Ex. A to Defs.’ Notice of Removal (Dkt. No. 1) at ¶¶ 52-53, 87, 102, 114,

126; see also Defs.’ Notice of Removal (Dkt. No. 1) at Ex. B thereto, ¶ 4.)              Defendant

Brookstone Capital Management, LLC (“Brookstone”) is alleged to be an investment advisory

firm who provided investment management services to Plaintiffs and the putative class. (Compl.

¶¶ 26, 28, 117.) Defendant Kaizen Advisory, LLC (“Kaizen”) is alleged to have been the

investment advisor to the Fund. (Id. at ¶¶ 52, 56-57.) Defendant Nadim Khalil “Dean” Zayed

(“Zayed”) is alleged to be a Registered Investment Advisor Representative, the owner of

Brookstone and Kaizen, and the “creator” of the Fund. (Id. at ¶¶ 36-37, 39, 41-42, 52.) Non-

party ZEGA is alleged to have been the subadvisor to the Fund. (Id. at ¶ 57.)

       3.      Plaintiffs allege three counts in the Complaint, all brought under state law.

Count I alleges a claim for breach of fiduciary duty against Zayed. (Id. at Count I.) Count II

alleges a claim for breach of fiduciary duty against Brookstone. (Id. at Count II.) Count III

alleges a claim for aiding and abetting breach of fiduciary duty against Kaizen. (Id. at Count III.)

All three counts are based on allegations that Defendants made, or aided and abetted the making

of, material misrepresentations or omissions in connection with Plaintiffs’ acquisition of shares

in the Fund. Plaintiffs seek to represent a nationwide class of all persons who were investment




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advisory clients of Brookstone between August 1, 2015 and August, 20, 2015, were invested in

the “ZEGA High-Probability Options Strategy” prior to August 3, 2015, and who held shares in

the Fund as of August 20, 2015. (Id. at ¶ 18.)

       4.      The Complaint fails to state a claim upon which relief can be granted against any

of the Defendants, and should be dismissed as to each Defendant, in that the claims asserted in

the Complaint are precluded by SLUSA. SLUSA precludes actions meeting the following four

conditions: (1) the underlying suit is a “covered class action”; (2) the action is based upon state

statutory or common law; (3) the action involves a “covered security”; and (4) the plaintiff

alleges “an untrue statement or omission of a material fact in connection with the purchase or

sale of a covered security,” or that the defendant “used or employed any manipulative or

deceptive device or contrivance in connection with the purchase or sale of a covered security.”

15 U.S.C. § 77p(b) and (c); 15 U.S.C. § 78bb(f)(1) and (2); see also Holtz v. JPMorgan Chase

Bank, N.A., 846 F.3d 928, 929 (7th Cir. 2017); Goldberg v. Bank of America, N.A., 846 F.3d 913,

914 (7th Cir. 2017); Brown v. Calamos, 664 F.3d 123, 124 (7th Cir. 2011).

       5.      Each of the requirements for preclusion under SLUSA is met here.

               (a)    First, this case constitutes a “covered class action” within the meaning of

15 U.S.C. § 77p(f)(2)(A)(i) and 15 U.S.C. § 78bb(f)(5)(B)(i) because Plaintiffs purport to seek

damages on a representative basis on behalf of themselves and other unnamed parties similarly

situated and on behalf of putative class of more than 50 persons or prospective class members,

and Plaintiffs allege that common questions of fact and law predominate over individualized

questions. (Compl. ¶¶ 5, 17-25, 33-35, 69-70, Counts I-III; see also Dkt. No. 1 at Ex. B. thereto,

¶¶ 3, 5.) See Nielen-Thomas v. Concorde Inv. Servs., LLC, Case No. 18-cv-229-jdp, 2018 WL

3598511, at *2 (W.D. Wis. July 26, 2018).




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               (b)    Second, the Complaint pleads class action claims that are “based upon”

state law, specifically, common law fiduciary duty claims. 15 U.S.C. §§ 77p(b); 15 U.S.C.

§ 78bb(f)(1). (Compl. ¶¶ 5, 17, 20, 33-35, 88, Counts I-III.)

               (c)    Third, the Complaint pleads class action claims that involve “covered

securities” within the meaning of SLUSA because the shares of the Fund were securities issued

by an investment company registered under the ICA, (Compl. ¶ 53; Dkt. No. 1 at Ex. B thereto,

¶ 4), and SLUSA’s definition of the term “covered security” includes mutual fund shares.

15 U.S.C. §§ 77p(f)(3), 78bb(f)(5)(E) and 15 U.S.C. § 77r(b)(2).

               (d)    Fourth, the Complaint alleges misrepresentations or omissions of material

fact in connection with the purchase or sale of covered securities, i.e., the shares of the Fund.

More specifically, the Complaint explicitly or implicitly alleges, inter alia, that prior to

Plaintiffs’ acquisition of shares in the Fund, Defendants failed to disclose and/or misrepresented:

(i) purported “conflicts of interest” involving Defendants and the Fund; (ii) that the Fund’s

hedging strategy Defendants “touted” “was poorly designed and ineffective” causing the Fund to

be “dramatically more susceptible to the volatility experienced by the broader markets than

[Brookstone] represented it to be”; and (iii) undisclosed acts of self-dealing allegedly committed

by Defendants in connection with Plaintiffs’ purchases of shares in the Fund. (Compl. ¶¶ 17, 33-

35, 44-45, 69-70, heading E, 76-77, 84, 86-88, 94, 96, 110, 122, 132.) The Complaint further

alleges that Plaintiffs and the putative class have suffered damages caused by the alleged

omissions and misrepresentations “which consist of investment losses.” (Id. at ¶¶ 114, 126.)

       6.      In short, the class action claims in the Complaint center on allegations of

omissions and misrepresentations of material facts in connection with the purchase or sale of a

covered security. Accordingly, Plaintiffs’ class claims fall squarely within SLUSA’s ambit and




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must be dismissed. See Holtz, 846 F.3d at 930 (“Under SLUSA, securities claims that depend on

the nondisclosure of material facts must proceed under the federal securities laws.”); Goldberg,

846 F.3d at 916 (“[Plaintiff’s] complaint alleged a material omission in connection with sweeps

to mutual funds that are covered securities; no more is needed [for SLUSA preclusion].”).

       7.      In further support of their Motion, Defendants have filed herewith a

Memorandum of Law in Support of Defendants’ Joint Motion to Dismiss Plaintiff’s Complaint

Pursuant to the Securities Litigation Uniform Standards Act.

       WHEREFORE, for the reasons stated herein and in the aforementioned Memorandum of

Law, Defendants respectfully request that this Court dismiss Plaintiffs’ Complaint in its entirety

with prejudice, and grant Defendants such other and further relief as the Court deems just and

equitable.




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Dated: August 16, 2018                      NADIM KHALIL ZAYED, and
                                            BROOKSTONE CAPITAL
                                            MANAGEMENT, LLC


                                             By: /s/ Steven M. Malina
                                                        One of Their Attorneys

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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on August 16, 2018, he caused a true
and correct copy of the foregoing Defendants’ Joint Motion to Dismiss Plaintiffs’ Complaint
Pursuant to the Securities Litigation Uniform Standards Act to be served electronically via
the Electronic Case Filing system of the Court upon the following counsel of record:

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